                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
       v.                                             )      Criminal Action No.
                                                      )
LUKE J. LARSEN,                                       )      06-00287-01/02/03-CR-W-ODS
JOSEPH PATRICK KENNEDY,                               )
DAVID TODD BANDY,                                     )
                                                      )
                                                      )
                              Defendants.             )

                          ACCEPTANCE OF PLEA OF GUILTY AND
                               ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, and after de novo review, the pleas of guilty of the

Defendants to Count I of the Information are now accepted and the Defendants are adjudged

guilty of such offense.



                                               /s/ Ortrie D. Smith
                                               ORTRIE D. SMITH
                                               United States District Judge

Dated: September 6, 2006




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